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 6                             IN THE UNITED STATES DISTRICT COURT

 7                               EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,                       CASE NO. 2:14-CR-220 KJM
 9
                                Plaintiff,           MOTION TO UNSEAL PLEA AGREEMENT AND
10                                                   ORDER
                          v.
11
     HUI HUA,
12
                               Defendants.
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15         For the reasons set forth in the government’s unopposed motion, and good cause appearing

16 therefrom, the plea agreement lodged at Docket Number 179 is hereby ordered unsealed.

17 Dated: March 25, 2016

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19                                                    UNITED STATES DISTRICT JUDGE

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